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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :           Case No.: 21-cr-292 RCL
                                              :
v.                                            :
                                              :
CHRISTOPHER WORRELL,                          :
             Defendant.                       :
                                              :

                 NOTICE OF UPDATE ON DEFENDANT’S MEDICAL STATUS

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant Christopher Worrell, through his attorney Alex

Stavrou, write jointly to update the Court with respect to Mr. Worrell’s medical status, following

our review of Mr. Worrell’s most recent medical records.

        First, with respect to Mr. Worrell’s finger fracture, the U.S. Marshals Service recently

requested an outside appointment for Mr. Worrell to be seen for surgery, but that outside

appointment has not yet been scheduled. It is in the process of being approved.

        Second, Mr. Worrell had a further visit with his oncologist in the last three days, at which

time Mr. Worrell and his oncologist discussed the results of Mr. Worrell’s skin biopsy. Those

results are not yet reflected in the medical records.

        The parties will provide a further update to the Court as a notice on the docket once there

is an update on Mr. Worrell’s finger fracture surgery or the results of his skin biopsy. The parties

anticipate that at least one of those two updates will be reflected in the medical records by next

week.


                                                        Respectfully submitted,

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                                                        Acting United States Attorney
                                                        D.C. Bar No. 415793
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